        Case 1:24-cv-06563-LJL         Document 32        Filed 10/02/24     Page 1 of 2




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 RUBY FREEMAN and WANDREA' MOSS,

                       Plaintiffs,                                  Case I :24-cv-06563
        V.

 RUDOLPH W. GIULIANI,

                       Defendant.


                DECLARATION OF MAGGIE E. MACCURDY
      IN SUPPORT OF PLAINTIFFS' MOTION FOR SUMMARY JUDGEMENT

I, Maggie E. MacCurdy, hereby declare as follows pursuant to 28 U.S.C. § 1746:

       1.      I am counsel to Plaintiffs Ruby Freeman and Wandrea' Moss ("Plaintiffs") in the

above-captioned action.

       2.      On December 21, 2023, Defendant filed a voluntary chapter 11 petition in the

United States Bankruptcy Court for the Southern District of New York (the "Giuliani Bankruptcy

Proceeding"). See In re Rudolph W. Giuliani, No. 23-12055-SHL (Bankr. S.D.N.Y. Dec. 21,

2023). A true and correct copy of that petition it attached as Exhibit A.

       3.      On January 26, 2024, Defendant filed an Affidavit Pursuant to Local Rule 1007-

l(b) and Schedules in In re Rudolph W. Giuliani. A true and correct copy that filing is attached as

Exhibit B.

       4.      On February 7, 2024, Mr. Giuliani testified under oath in his bankruptcy case, at

the Meeting of Creditors pursuant to Section 341 of the Bankruptcy Code. A true and correct copy

of the transcript from that meeting is attached as Exhibit C.
        Case 1:24-cv-06563-LJL          Document 32       Filed 10/02/24      Page 2 of 2




       5.       On July 15, 2024, Mr. Giuliani filed an "affidavit of domicile" with the Clerk of

Palm Beach County. A true and correct copy of that affidavit is attached as Exhibit D.

       6.       On August 8, Plaintiffs recorded a certified copy of their registered judgment with

the Clerk of Palm Beach County. A true and correct copy of their registered judgment is attached

as Exhibit E.

       7.       The Palm Beach Condo was previously owned by Mr. Giuliani and his ex-wife,

Judith. Mr. Giuliani has been the sole owner of the Palm Beach Condo since January 14, 2020,

when a Quickclaim Deed was made to Mr. Giuliani. A true and correct copy of that deed is attached

as Exhibit F.

       8.       On February 5, 2024, Mr. Giuliani filed an Addendum to Statement of Financial

Affair No.: 6, in In re Rudolph W. Giuliani. A true and correct copy of that Addendum is attached

as Exhibit G.

       I declare under penalty of perjury that the foregoing is true and correct.




Executed on October 2, 2024.




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